                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                        Harrisonburg Division

  JOHN DOE 4, by and through his
  next friend, NELSON LOPEZ, on behalf of
  himself and all persons similarly situated,
                                                        CIVIL ACTION
         Plaintiffs,

  v.                                                    Case No.: 5:17-cv-00097-EKD

  SHENANDOAH VALLEY JUVENILE
  CENTER COMMISSION,                                    Honorable Elizabeth K. Dillon

         Defendant.



     DEFENDANT’S REPLY IN SUPPORT OF MOTION IN LIMINE TO EXCLUDE
   EVIDENCE OF NON-CLASS MEMBERS AND CLASS MEMBERS NOT IDENTIFIED
                   IN PLAINTIFFS’ INITIAL DISCLOSURES
         Defendant, Shenandoah Valley Juvenile Center Commission (“SVJC”), by counsel,

  hereby submits this Reply to Plaintiffs’ Memorandum of Law in Opposition to Defendant’s

  Motion in Limine (ECF Dkt. No. 151) (“Plaintiffs’ Opposition”).

                                             Introduction
         The primary issue raised in SVJC’s motion in limine concerns Plaintiffs’ ability to rely

  upon evidence regarding former residents who (i) are not even members of the certified class, (ii)

  were not disclosed during discovery as parties with relevant knowledge, and (iii) are unavailable

  for Defendant to depose or cross-examine.

         SVJC filed its Motion in Limine and supporting Memorandum (ECF Dkt. Nos. 131, 132)

  prior to the deadline for filing witness and exhibit lists. Plaintiffs’ Witness List (ECF Dkt. No.

  136), indicates that Plaintiffs may call three non-class members (John Doe 2, John Doe 3 and

  another former resident identified as “D.M.”) to testify at trial. Similarly, Plaintiffs’ Exhibit List
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  (ECF Dkt. No. 135) identifies 507 exhibits, the vast majority of which are incident reports or

  other records related to roughly 65 different UAC’s who resided at SVJC between 2015 and the

  first half of 2018. Of these 65 individuals, only two were housed at SVJC when the order

  certifying a class was entered, and only one of those individuals, John Doe 4, is expected to

  reside at SVJC at the time of trial. Thus, the vast majority of the exhibits identified by Plaintiffs

  relate to incidents involving former residents who are not members of the certified class.

         As set forth in SVJC’s Motion for Summary Judgment and supporting memoranda (ECF

  Dkt. Nos. 99, 100, 147), Plaintiffs lack the evidence to establish any violation of John Doe 4’s

  constitutional rights or the rights of other members of the certified class. Thus, it is increasingly

  clear that Plaintiffs intend to base their claim almost entirely upon evidence regarding

  individuals who no longer reside at SVJC, who will not testify at trial, and who are not members

  of the class. The Court should reject Plaintiffs’ effort to shoehorn a subset of cherry-picked

  incidents regarding non-class members into evidence under the guise of a “pattern and practice”

  of constitutional violations at SVJC. The incidents included on Plaintiffs’ Exhibit List are not

  representative of the experience of the current residents and class members, and they are wholly

  irrelevant to the issues to be decided by the Court at trial.

                                              ARGUMENT

     A. Evidence pertaining to non-class members is irrelevant and should be excluded.

         It is axiomatic that a plaintiff in a civil rights case must prove a violation of his own

  personal rights, not those of others. This also holds true in the context of class actions. A class

  representative lacks standing to present claims on behalf of those who are not members of the

  class, and the named plaintiffs in a class action “must allege and show that they personally have

  been injured, not that injury has been suffered by other, unidentified members of the class to



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  which they belong and which they purport to represent.” Doe v. Obama, 631 F.3d 157, 160 (4th

  Cir. 2011). This principle is also embodied by the typicality and commonality elements of class

  representation. As explained by the Fourth Circuit in Deiter v. Microsoft Corp., 436 F.3d 461,

  466 (4th Cir. 2006), the essence of the typicality requirement for class certification is “captured

  by the notion that 'as goes the claim of the named plaintiff, so go the claims of the class.'”

  (citation omitted).1

          If a class representative cannot premise his claims upon the alleged injuries suffered by

  other class members (as set forth in Obama), then it is even less tenable for a class representative

  to premise his claims upon evidence of alleged injuries to third-parties who are not even part of

  the purported class. Thus, John Doe 4 cannot fall back on alleged violations of other individuals’

  rights, especially individuals who are not members of the class, to prove his claims against

  SVJC.

          In response to this fundamental point, Plaintiffs allege that they should be allowed to

  present evidence regarding non-class members to show a “pattern and practice” of misconduct

  by SVJC. However, Plaintiffs’ own authority demonstrates that any pattern and practice of

  constitutional violations must relate to injuries suffered by members of the certified class, not to

  third-parties. Plaintiffs rely primarily on Scott v. Clarke, 64 F.Supp. 3d 813 (W.D. Va. 2014).



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    There is a legitimate question, based on Plaintiffs’ Exhibit List, whether the class should be de-
  certified. Plaintiffs’ almost singular focus on prior residents and non-class members, and the
  identification of records for only two current residents at SVJC, demonstrates that the
  inflammatory allegations of the Second Amended Complaint are not typical or representative of
  the treatment of the members of the certified class. After all, if members of the certified class
  believed they had been subjected to systemic abuse, insufficient mental health treatment and/or
  racial discrimination, one would anticipate that Plaintiffs would present testimony and
  documentary evidence of such treatment instead of relying almost exclusively on incidents
  related to non-class members.



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  The issue in Scott was whether the plaintiffs were allowed to present evidence of constitutional

  injuries to the class members that occurred outside the period of the statute of limitations. The

  Court in Scott relied upon evidence regarding the class representatives’ medical conditions to

  find that the plaintiffs had proven the existence of serious medical needs on behalf of the class.

  Id., at 823-24. The Court also considered sworn declarations regarding other prisoners with

  serious medical needs, but importantly, those prisoners were members of the certified class. Id.,

  (“Additionally, the named Plaintiffs have offered the sworn Declarations of a host of additional

  FCCW class members who have likewise attested to significant health problems and concerns

  ….”) (emphasis added). In other words, Scott holds that class members are not barred by the

  statute of limitations from presenting evidence of “old” injuries that they sustained as part of a

  facility’s ongoing failure to provide medical care. However, nothing in Scott allows Plaintiffs in

  this case to look backward to incidents or alleged injuries involving non-class members to

  bolster the current class’ claims of a pattern and practice of mistreatment.

         The other cases cited by Plaintiffs, Floren v. Whittington, 217 F.R.D. 389 (S.D. W.Va.

  2003) and Spell v. McDaniel, 591 F.Supp. 1090 (F.D.N.C. 1984), involved motions to compel

  production of documents which are governed by the scope of relevance under Rule 26. As

  discovery motions, they have no bearing on the admissibility of evidence regarding non-class

  members for purposes of trial. Moreover, the information sought in those cases related to

  complaints of police brutality or unconstitutional treatment that were reported to the relevant

  supervisory personnel at the defendant police departments. Pls.’ Opp., pp. 7-8. Evidence of

  prior complaints may be relevant to show a pattern of deliberate indifference in a civil rights

  case, but that is not the information sought to be introduced by Plaintiffs here. The exhibits

  identified by Plaintiffs are not grievances filed by former UAC’s alleging unconstitutional



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  treatment, and Plaintiffs are not trying to show that SVJC was deliberately indifferent to reports

  of mistreatment. Instead, Plaintiffs are trying to expand the certified class, introduce evidence of

  alleged constitutional violations involving non-class members, and bolster the deficient claims of

  John Doe 4. In essence, Plaintiffs seek relief for a defined class based on injuries that other

  individuals outside that class allegedly suffered.

          Plaintiffs’ argument also fails because they cannot show a “pattern and practice” by

  selecting only a handful of incidents out of the hundreds that have occurred over the last three

  years at SVJC. Plaintiffs’ Exhibit List identifies records for approximately 65 UACs who have

  been housed at SVJC since 2015. Yet, SVJC was home to 257 such individuals between June 1,

  2015 and May 1, 2018, alone. Declaration of Kelsey Wong, (ECF Dkt. No. 104-4). Anecdotal

  evidence of incidents involving a select group of prior UAC residents cannot be the basis for

  showing a “pattern and practice” of mistreatment of the current UACs and class members at the

  facility.

          Ultimately, Plaintiffs’ reliance on isolated incidents regarding a subset of individuals who

  are not even class members to foment a claim under the guise of a “pattern and practice” is an

  end-run around the entire concept of class action litigation. The class representative must

  demonstrate his own constitutional injuries, not those of strangers to this litigation. Plaintiffs

  cannot present evidence of a “pattern and practice” of alleged constitutional violations to which

  the class representative has never been subjected By way of example, Plaintiffs place great

  emphasis in their pleadings and expert reports on the use of an emergency restraint chair as

  demonstrative of an unconstitutional practice at SVJC. Setting aside that the use of a restraint

  chair is not per se unconstitutional, Doe 4 has never been placed in the emergency restraint chair

  while at SVJC. ECF Dkt. No. 68, ¶ 92. In fact, none of the members of the certified class have



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  been. This illustrates that what Plaintiffs cast as a “pattern and practice” is nothing more than an

  attempt to expand the class that was certified by consent of the parties and introduce evidence of

  purported injuries that the class members have not suffered.

      B. Plaintiffs’ Identification of Exhibits for Non-Class Members Was Not Properly
         Disclosed.

          The second problem with Plaintiffs’ proposed exhibits regarding non-class members is

  that Plaintiffs did not identify those individuals as persons with knowledge, nor did they identify

  the records on which they intend to rely to prove their claims until Plaintiffs filed their Exhibit

  List on November 12, 2018. As set forth in SVJC’s Memorandum in Support of Motion in

  Limine, class action plaintiffs have a duty to timely disclose the identities of the class members

  on whom they expect to rely to prove their claims. Quesenberry v. Volvo Group N. Am., Inc.,

  267 F.R.D. 475, 479 (W.D. Va. 2010). The logic in Quesenberry applies with even greater force

  to the extent that Plaintiffs intend to rely on incidents that involved non-class members. Rice v.

  Corr. Med. Servs. 675 F.3d. 650 (7th Cir. 2012) (excluding affidavits and declaration from

  plaintiff’s prison inmates because they had not been disclosed pursuant to Rule 26(a)).

          Plaintiffs also were required to identify the documents they “may use to support [their]

  claims or defenses.” Rule 26(a)(1)(A)(ii). Plaintiffs’ broad statement in their Initial Disclosures

  that they intend to rely on “files compiled for each of the Plaintiffs and for other immigrant

  youths” is insufficient to enable them to introduce incident reports or other documents relating to

  the roughly 63 former UAC’s whom Plaintiffs never identified prior to the discovery cutoff. Ex.

  A, Plaintiffs’ Initial Disclosures.

          Effectively, Plaintiffs waited until a month before trial to inform SVJC of the specific

  individuals about whom Plaintiffs plan to present evidence at trial. Because these individuals

  were not identified in a more timely manner (through Plaintiffs’ initial disclosures or a

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  supplemental disclosure) SVJC has not had a realistic opportunity to develop rebuttal evidence.

  SVJC has not been able to depose or cross-examine those individuals regarding the incidents

  described in the records, nor has SVJC been afforded the opportunity to meaningfully obtain

  testimony from former employees who may have worked with those UACs while they were

  present at SVJC.

                                         CONCLUSION

         Defendant’s Motion in Limine to Exclude Evidence of Non-Class Members and Class

  Members Not Identified in Plaintiffs’ Initial Disclosure should be granted for the reasons set

  forth above.

                                                     Respectfully submitted,
                                             SHENANDOAH VALLEY JUVENILE
                                                  CENTER COMMISSION
                                                      By Counsel


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                                              CERTIFICATE

          I certify that on the 27th day of November, 2018, I electronically filed the foregoing

  document with the Clerk of the Court using the CM/ECF system, which will send notification of

  such filing to:


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